Case 1:22-cr-00120-LMB Document115 Filed 01/24/23 Page 1 of 1 PagelD# 424

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA )
)
v. )
) 1:22cr120 (LMB)
CHRISTOPHER WILLIAM KUEHNER, )
)
Defendant. )

ORDER

For the reasons stated in open court, the defendant Christopher William Kuehner having
been found guilty of engaging in a child exploitation enterprise, 18 U.S.C. § 2252A(g), it is
hereby

ORDERED that the Order Setting Conditions of Release entered on September 27, 2022,
be and is VACATED; and it is further

ORDERED that the defendant be and is remanded into the custody of the United States
Marshal until further order of the Court.

The Clerk is directed to forward copies of this Order to counsel of record, the United
States Probation Office, and the United States Marshals Service.

Entered this 24 day of January, 2023.

Alexandria, Virginia

Isl we

Leonie M. Brinke:na
United States District Judge

